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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In Re: Tashanna B. Golden                    )
      fka Tashanna B. Pearson                )
                                             )
                                             )     Case No. 16-40809 (ESS)
 Debtor,                                     )
                                             )
Tashanna B. Golden                           )     Chapter 7
fka Tashanna B. Pearson on behalf of herself )
and all others similarly situated            )
                                             )
                Plaintiff,                   )
                                             )
        v.                                   )     Adv. Proc. No. 17-1005 (ESS)
                                             )
Firstmark Services LLC, GS2 2016-A           )
(GS2), National Collegiate Student Loan )
Trust 2006-4 (NCT 2006), Pennsylvania )
Higher Assistance Agency, d/b/a              )
American Education Services,                 )
                                             )
                                             )
                Defendants.                  )
                                             )


         DEFENDANT PENNSYLVANIA HIGHER EDUCATION ASSISTANCE
            AGENCY’S SUPPLEMENTAL MEMORANDUM OF LAW IN
               OPPOSITION TO PLAINTIFF’S MOTION COMPEL
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        Defendant Pennsylvania Higher Education Assistance Agency (“PHEAA”) submits this

supplemental memorandum of law in response to Plaintiff’s Supplemental Memorandum

(“Supplemental Memo”) (Dkt. 471) and in further opposition to the Motion to Compel Responses

to Plaintiff’s Supplemental Discovery Requests by plaintiff Tashanna B. Golden.

                                  PRELIMINARY STATEMENT

        At the February 2 hearing on the Motion to Compel, this Court directed Ms. Golden to

submit a memorandum to explain why each of the nine specific requests that she identified as

critical are relevant to the pending motion for class certification. Ms. Golden’s Supplemental

Memo purports to respond to that direction. Yet, the Supplemental Memo does nothing more than

underscore the fundamental fact that Ms. Golden’s discovery requests seek discovery relevant only

to the merits of her claims but not relevant to the pending motion for class certification.

        Ms. Golden effectively concedes again and again in her Supplemental Memo that this

discovery is relevant only to these merits issues. Ms. Golden informs the Court that the discovery

at issue on this Motion to Compel is relevant to determine 1) whether a loan exceeds the cost of

attendance or 2) whether a loan was funded or guaranteed by a nonprofit or governmental entity.1

See Supplemental Memo at 2, 3, 4. Both of these factual issues are merits issues because the

answers to those questions for each putative class member will determine whether as to each

particular borrower, the borrower can succeed on the claim that a particular loan is not subject to




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  Indeed, the very arguments made by Ms. Golden demonstrate, among other things, that a class may not
be certified. Ms. Golden repeatedly asserts that she needs the various documents and information in order
to examine the eligibility of each borrower in the putative class who claims to be not subject to the
nondischarge provisions set forth in Section 523(a)(8). If Ms. Golden requires all the information that she
seeks in order to defend against the contentions made by each of the defendants in opposition to Ms.
Golden’s putative class claims, by definition, individual issues of fact predominate. Thus, a class may not
be certified.



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any of the exceptions to discharge is Section 523(a)(8). Discovery on the merits, however, is

inappropriate prior to class certification. See Rahman v. Smith & Wollensky Restaurant Group,

Inc., 2007 WL 1521117, at *4 (S.D.N.Y. May 24, 2007) (“By contrast, pre-certification discovery

on the merits of the class claims is generally inappropriate.”).

       The standard for pre-certification discovery requires Ms. Golden to establish how the

discovery at issue is specifically relevant to Rule 23’s class certification requirements. See

Calabrese v. CSC Holdings, Inc., No. 02-cv-5171 (DLI)(JO), 2007 WL 749690 (E.D.N.Y. Mar. 7,

2007) (denying plaintiff’s motion because the pre-certification discovery at issue concerned solely

the sufficiency of the plaintiff’s allegations, and not class certification); Miner v. Government

Payment Service, Inc., No. 14-cv-7474, 2017 WL 3909508, at *4 (N.D. Ill. Sept. 5, 2017) (noting

“pre-certification discovery should not exceed what is necessary to permit the Court to make an

informed decision on class certification.”).

       This requirement means that Ms. Golden must specifically link the discovery to one of

Rule 23’s requirements. But at no point in her Supplemental Memo does Ms. Golden attempt to

argue the relevance of the requested discovery to any of those requirements. At no point does Ms.

Golden refer to or cite any of the requirements set forth in Rule 23. Ms. Golden does not contend

that the discovery is relevant to the typicality of her claims or her adequacy as a class

representative. She does not contend that the information is relevant to numerosity. She does not

state that any of the discovery is relevant to establishing that there are common issues of fact

justifying certification or that the individual issues of fact do not predominate over such common

issues. That silence is tantamount to admitting that Ms. Golden cannot satisfy her burden to obtain

pre-certification discovery with respect to the nine requests.




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        Further, Ms. Golden still refuses to acknowledge that PHEAA has already provided

discovery responsive to several of the work requests. In the database of 129,000 loans and the

corresponding Compass tables produced during 2020, PHEAA provided, among others, data

regarding the loan owner, guarantor and institution’s name for every one of those loans. Haveles

Declaration (Dkt. 448) ¶¶ 7, 9. PHEAA also submitted a list of nonprofit entities that are

guarantors of loans that PHEAA services in its opposition to class certification. June 29 Minsker

Declaration (Dkt. No. 400-1), Ex. A. All of this information satisfies PHEAA’s obligation to

respond to Requests L, N and Q. Moreover, it is Ms. Golden’s responsibility to evaluate that data.

See Fed. R. Civ. P. 33(d) (if an interrogatory can be answered by providing business records and

the burden of deriving the answer will be the same for both parties, the responding party may

sufficiently answer by providing the records and any compilations of them); Espinal v. Coughlin,

No. 98 CIV. 2579(RPP), 2000 WL 245879, at *1 (S.D.N.Y. Mar. 3, 2000).

        It is Ms. Golden’s burden to establish the relevance of the discovery that she seeks to

compel. See Miner, 2017 WL 3909508, at *4 (“plaintiff bears the burden of showing that

discovery is likely to produce substantiation of the class allegations”). Plaintiff has failed to carry

this burden. Accordingly, as to PHEAA, Ms. Golden’s Motion to Compel must be denied in its

entirety.

                                           ARGUMENT

        With respect to each of the nine requests, for the reasons set forth below, Ms. Golden is

not entitled to an order compelling PHEAA to make further production, either because PHEAA

has already produced the requested documents and information or because Ms. Golden has failed

to establish that the discovery is necessary for her to satisfy the requirements of Rule 23.




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L.     Identify the lender, originator, servicer or guarantor other than You

       In order to address Request L, understanding the distinction between a loan owner and the

originator of the loan is critical. The loan owner is the entity that presently owns the loan, whereas

the originator is the entity that made the loan. Given this distinction, the loan owner may not be

the same as the loan originator. The loan originator may have sold the loan to the present loan

owner or multiple sales of the loan may have occurred over time.

       PHEAA has already provided Ms. Golden with all the data regarding the loan owner and

guarantor of each of the loans in the database produced in 2020. Haveles Declaration ¶¶ 7, 9. To

the extent that the owner of the loan is not the party that originated the loan or that there was a

servicer of the loan prior to the loan being provided to PHEAA for servicing, PHEAA can identify

that information only by looking at each individual loan file, on a one by one basis. See December

22 Minsker Declaration (Dkt. 449) ¶¶ 6-8. And as to subsequent servicers, PHEAA does not have

that information—only the loan owner, who would choose a subsequent servicer and assign the

loan to that new servicer, would have such information.

Regardless, Ms. Golden has not established that the originator of the loan is relevant to class

certification. Instead, Ms. Golden asserts this information is relevant only to PHEAA’s continued

assertion that the Court cannot certify a class without the loan owners who are necessary parties

before the Court. See the Supplemental Memorandum at 1. Yet, Ms. Golden already has that

information, which is easily extracted with a pivot table from the May 2020 database. Thus, this

argument is a red herring. In any event, Ms. Golden has repeatedly declined to join the loan owners

to this adversary proceeding. As to the originators, Ms. Golden makes no attempt to establish the

relevance of their identity to the necessity of the loan owners as parties under Rule 19.




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       As established in PHEAA’s prior submission, and as still unrebutted by Ms. Golden,

review of more than 129,000 loan files to identify the loan originator or prior servicers of the loan

is unduly burdensome to PHEAA. To produce this information, PHEAA would need to review

each individual loan file to determine the originator or funder of each loan, which would require

significant time and resources—the loan files would need to be collected and reviewed one by one.

See PHEAA’s Opposition Memorandum (Dkt. 447) at 16-19; December 22 Minsker Declaration

¶¶ 6-9. Such an undertaking is unduly burdensome to PHEAA and far outweighs any conceivable

benefit at this stage of this adversary proceeding. See Jurich v. Compass Marine, Inc., 2013

WL 12353646, at *4 n.3 (S.D. Ala. June 11, 2013) (the plaintiff’s requests, which required a “file

by file” review for information, were not relevant to class certification and such a search would be

unduly burdensome).

M.     Whether the loan was originated or funded by a nonprofit or governmental entity
       and, if so, identify those loans

       Information regarding the nature of the originator or funder of each loan is available only

in the individual loan files maintained by PHEAA. As noted above, to produce this information,

PHEAA would need to review each individual loan file to obtain the information regarding the

originator or funder of each loan. Such an undertaking is unduly burdensome to PHEAA. See this

Memo at 4–5, supra. Even so, PHEAA cannot guarantee that the originator or funder of the loan

is identified in every loan file, as PHEAA has only the information that the loan owner provided

to PHEAA when it transferred the loan to PHEAA for servicing.

       Regardless, whether the loan was originated or funded by a nonprofit or governmental

entity is relevant only to the merits of the case. This information is relevant to determining only

whether a particular loan falls into an exception under Section 523(a)(8) from discharge.

Identification of the actual members of a class prior to certification is not pertinent to pre-



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certification discovery. See Jurich, 2013 WL 12353646, at *4 (rejecting plaintiff’s request for pre-

certification discovery to identify putative class members as unnecessary at this stage). Further,

Ms. Golden’s claim that determining this information will inform who is in or out of the class is

misleading because it highlights that Ms. Golden’s class definition is circular. See PHEAA’s

Opposition Memo at 33; the Supplemental Memo at 2. The class definition, as written, provides

no exclusion for loans funded or guaranteed by a nonprofit or governmental entity. See Plaintiff’s

Class Certification Memo at 6. Ms. Golden’s suggestion that knowing which loans are funded or

guaranteed by a nonprofit is nothing more than an attempt to seek merits discovery prior to

certification.

N.      Whether the loan was guaranteed by a nonprofit or governmental entity and, if so,
        identify those loans

        As noted, PHEAA has already provided Ms. Golden with the name of the guarantor of each

of the loans in the Compass tables produced in 2020. Haveles Declaration ¶¶ 7, 9. PHEAA also

provided a list of all of the nonprofit guarantors for the 129,000 loans in the database in its papers

in opposition to the motion for class certification. See June 29 Minsker Declaration, Ex. A. The

names of the guarantors are therefore sufficient for Ms. Golden to determine whether the guarantor

of each loan was a nonprofit or governmental entity. PHEAA is not required to perform that task,

as Ms. Golden is capable of drawing the same conclusions from the information provided. See

this Supplemental Opposition Memo at 3, supra.

        Regardless, the guarantor information is exclusively relevant to the merits of the case,

which Ms. Golden concedes. See Supplemental Memo at 2. The guarantor information is relevant

to determining only whether a particular loan falls into the exception to discharge under

Section 523(a)(8)(i)(A), which is a merits question. Ms. Golden responds, in essence, that the

guarantor information is relevant to the Court’s determination as to Ms. Golden’s summary



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judgment motion.2 Id. Ms. Golden, however, does not attempt to establish the relevance of the

guarantor information to any demand of Rule 23.

O.      Whether the borrower was an undergraduate or graduate student

        Whether a borrower was an undergraduate or graduate student is irrelevant to class

certification and is solely relevant to the merits of the case. Ms. Golden concedes that: “This

information will help [Ms. Golden] and the Court determine which loans are within the cost of

attendance.” Supplemental Memo at 2. The inquiry as to whether a loan is within the cost of

attendance is relevant to determining whether a particular loan falls into the exception set forth in

Section 523(a)(8)(B). That issue has no bearing on the elements for class certification, and

Ms. Golden does not contend that it does.

        Further information regarding whether the borrower was an undergraduate or graduate

student is available only in the individual loan files that PHEAA maintains. To produce this

information, PHEAA would need to review each individual loan file to determine this information.

Such an undertaking is unduly burdensome to PHEAA at this stage of the proceeding given that

Ms. Golden fails to establish the relevance of the factual issue to class certification. See this

Supplemental Opposition Memo at 4–5, supra. Even so, PHEAA cannot guarantee that the

information is contained in every loan file, as PHEAA possesses only the information that the loan

owner sent to PHEAA when PHEAA began to service the loan.




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  Of course, Ms. Golden has not moved for summary judgment with respect to whether the loans to all the
members of the putative class were guaranteed by a not for profit institution. The only guarantee issue that
is the subject of Ms. Golden’s motion for partial summary judgment is whether TERI constitutes a not for
profit institution for the purposes of Section 523(a)(8)(i)(A). See Plaintiff’s Memorandum in Support of
Partial Summary Judgment (Dkt. 244) at 18–39.


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P.      Whether the borrower was a full-time or part-time student

        Again, Ms. Golden concedes that whether a borrower was a full-time or part-time student

is relevant only to determining whether a loan was within the cost of attendance. As discussed,

with respect to the request above, determination as to whether the loan exceeded the cost of

attendance is strictly a merits determination.

        Further, information regarding whether the borrower was a full-time or part-time student

is available only in the individual loan files that PHEAA maintains. To produce this information,

PHEAA would need to review each individual loan file to determine this information. Such an

undertaking is unduly burdensome to PHEAA at this stage of the proceeding given that Ms.

Golden fails to establish the relevance of the factual issue to class certification.             See this

Supplemental Opposition Memo at 4–5, supra. Even so, PHEAA cannot guarantee that the

information is contained in every loan file, as PHEAA possesses only the information that the loan

owner sent to PHEAA when PHEAA began to service the loan.

Q.      Identify the institution the borrower attended and state whether such institution was
        a Title IV institution at the time the loan was made

        PHEAA has already provided Ms. Golden with the name of the institution that each

borrower attended in the May 2020 loan database. Haveles Declaration ¶¶ 7, 9. Under Rule 33(d),

the names of the institutions are sufficient for Ms. Golden to determine whether each institution

was a Title IV institution.3 PHEAA is not required to perform this analysis for Ms. Golden, as the

burden for each party is substantially the same.




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  Moreover, as PHEAA has previously represented to Ms. Golden counsel, all of those institutions are Title
IV schools. The field in the database that identifies the academic institution enables Ms. Golden to verify
that fact, in accordance with Rule 33(d).


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R.     Whether the loan was certified as within the cost of attendance by the applicable
       educational institution at any time prior to, or at the time, the loan was made. If so,
       provide all Documents showing such certification

       The certification of a loan is irrelevant to the class certification inquiry by Ms. Golden’s

own admissions. Ms. Golden has repeatedly alleged that certification of a loan is evidence that

the loan did not exceed the cost of attendance. Whether a loan is within the cost of attendance is

relevant to determining only whether a loan falls into the exception set forth in

Section 523(a)(8)(B). Thus, the question of whether a particular loan exceeded the cost of

attendance is a question of merits and is not relevant to the issues under Rule 23. See this

Supplemental Opposition Memo at 1, 7 supra.

       Further, information regarding whether the school certified the borrower’s cost of

attendance is available only in the individual loan files that PHEAA maintains. To produce this

information, PHEAA would need to review each individual loan file to determine this information.

Such an undertaking is unduly burdensome to PHEAA at this stage of the proceeding given that

Ms. Golden fails to establish the relevance of the factual issue to class certification. See this

Supplemental Opposition Memo at 4–5, supra. Even so, PHEAA cannot guarantee that the

information is contained in every loan file, as PHEAA possesses only the information that the loan

owner sent to PHEAA when PHEAA began to service the loan.

S.     Whether the loan was a bar loan, residency loan or other loan made for expenses
       incurred other than for full or part-time study at an educational institution. For each
       such loan, identify the type of loan

       As PHEAA has previously informed Ms. Golden, PHEAA does not service bar or

residency or similar types of loans. PHEAA therefore has no information responsive to this

request.




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U.      The cost of attendance at the applicable educational institution of the person to whom
        the loan was made and any information concerning any other loans, scholarships or
        grants received by the person who obtained the loan. Produce all Documents in Your
        possession, custody or control relating to such information

        Cost of attendance at each institution has no bearing on whether a class should be certified.

Cost of attendance is relevant to determining only whether each putative class member’s loans

exceed that cost. This issue is a question concerning the merits and has no relevance to class

certification.   Ms. Golden concedes as much, arguing that the information is relevant to

determining only “whether any individual loan is a qualified education loan under § 523(a)(8)(B).”

See Supplemental Memo at 4.

        Further, information regarding a borrower’s cost of attendance is available only in the

individual loan files that PHEAA maintains. To produce this information, PHEAA would need to

review each individual loan file to determine this information. Such an undertaking is unduly

burdensome to PHEAA at this stage of the proceeding given that Ms. Golden fails to establish the

relevance of the factual issue to class certification. See this Supplemental Opposition Memo at 4–

5, supra. Even so, PHEAA cannot guarantee that the information is contained in every loan file,

as PHEAA possesses only the information that the loan owner sent to PHEAA when PHEAA

began to service the loan.




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                                          CONCLUSION

       Because Ms. Golden concedes the discovery not yet produced PHEAA is relevant only to

the merits of the claim that the putative class’ loans were not discharged and because she does not

establish the discovery’s relevance to class certification, Ms. Golden’s Motion as to PHEAA

should be denied in its entirety.

Dated: March 16, 2022

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